                    Case 23-11160-MFW               Doc 379       Filed 11/08/23           Page 1 of 8




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    VESTTOO LTD., et al.,1                                      Case No. 23-11160 (MFW)

                                       Debtors.                 (Jointly Administered)

                                                                Related D.I. 11, 43, 371

      THIRD INTERIM ORDER (I) AUTHORIZING THE CONTINUED USE OF THE
     DEBTORS’ CASH MANAGEMENT SYSTEM, (II) MODIFYING REQUIREMENTS
               OF SECTION 345 OF THE BANKRUPTCY CODE, AND
                      (III) GRANTING RELATED RELIEF

             Upon the Motion of the Debtors for Entry of an Interim and Final Order (I) Authorizing

the Continued Use of the Debtors’ Cash Management System, (II) Modifying Requirements of

Section 345 and (III) Granting Related Relief (the “Motion”),2 filed by Vesttoo Ltd. and its

affiliated debtors and debtors in possession in the above-captioned chapter 11 cases (collectively,

the “Debtors”), pursuant to sections 105(a), 345, and 363 of title 11 of the United States Code (the

“Bankruptcy Code”) and Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), (i) authorizing, but not directing, the Debtors to continue using their current

Cash Management System, existing Bank Accounts, and Business Forms, including authorizing

and directing all Banks participating in the Cash Management System to honor certain transfers

and charge Bank Fees and certain other amounts, and (ii) granting related relief, all as more fully

set forth in the Motion; and upon consideration of the First Day Declaration; and this Court having

found that (i) this Court has jurisdiction over the Debtors and their estates, and to consider the



1
          Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/vesttoo.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.


ACTIVE\1605211999.1
                Case 23-11160-MFW          Doc 379      Filed 11/08/23      Page 2 of 8




Motion and the relief requested therein under 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012, (ii) this Court may enter a final order consistent with Article III of the

United States Constitution, (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A),

(iv) venue of this proceeding and the Motion in this District is proper under 28 U.S.C. §§ 1408 and

1409, and (v) no further or other notice of the Motion is required under the circumstances; and this

Court having granted the relief requested in the Motion on an interim basis on August 24, 2023

(“First Interim Order”) [D.I. 43] and on October 2, 2023 (“Second Interim Order”) [D.I. 193], and

on the record of these chapter 11 cases; and having determined that the legal and factual bases set

forth in the Motion and the First Day Declaration establish just cause for entry of a third interim

order (this “Third Interim Order”); and this Court having found and determined that the relief

sought in the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties

in interest; and after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED on an interim basis, as set forth in this Third

Interim Order.

        2.       The Debtors are authorized, on an interim basis, to maintain and continue to use

their Cash Management System as described in the Motion and to honor their prepetition

obligations related thereto, including the Bank Fees.

        3.       The Debtors are authorized to continue to use the Bank Accounts under existing

account numbers without interruption; provided, however, that no checks or other debits issued

against the Bank Accounts prior to the commencement of these chapter 11 cases shall be honored,

except as otherwise set forth in the First Interim Order, the Second Interim Order, and this Third


                                                   2
ACTIVE\1605211999.1
                Case 23-11160-MFW         Doc 379     Filed 11/08/23     Page 3 of 8




Interim Order or as authorized by other or further order of this Court and as represented by the

Debtors to such Banks.

        4.       Subject to the terms of the First Interim Order, the Second Interim Order, and this

Third Interim Order, (a) all existing deposit and cash management agreements or arrangements

between any of the Debtors and the Banks (including all other related agreements) shall continue

to govern the postpetition deposit and cash management relationship between the Debtors and the

Banks, and the provisions regarding termination, fee provisions, rights, benefits, offset rights, and

remedies afforded under such agreements (including any provisions requiring the Debtors to

reimburse a Bank for legal fees or expenses incurred by such Bank on account of these chapter 11

cases) shall remain in full force and effect, subject in all respects to the Bankruptcy Code and any

applicable order of the Court, (b) the Debtors and the Banks may, without further order of this

Court, agree to and implement non-material changes to the Cash Management System and

procedures in the ordinary course of business and in accordance with the terms of the existing

deposit and disbursement agreements and arrangements, and (c) in the course of providing cash

management services to the Debtors, the Banks are authorized without further order of this Court

to deduct from the appropriate accounts of the Debtors the Bank Fees, and further, to charge back

to the appropriate accounts of the Debtors (or seek reimbursement from the Debtors of) any

amounts resulting from Returned Items regardless of whether such items were deposited or

transferred prepetition or postpetition and regardless of whether the Returned Items relate to

prepetition or postpetition items or transfers.

        5.       The Banks are directed to honor the Debtors’ funds transfer instructions.

        6.       To the extent the Debtors’ Money Market Investments are not compliant with

Bankruptcy Code section 345, the requirements of Bankruptcy Code section 345(b) are hereby


                                                  3
ACTIVE\1605211999.1
                Case 23-11160-MFW         Doc 379      Filed 11/08/23     Page 4 of 8




waived on an interim basis through December 6, 2023, subject to the Debtors’ right to seek entry

of an order further extending such waiver or granting a waiver on a final basis. For the avoidance

of doubt, the U.S. Trustee’s right to seek relief from this Court or oppose any requested extension

or a waiver on a final basis is fully reserved.

        7.       Except for those checks, drafts, wires, or ACH Transfers that may be honored and

paid in accordance with any order(s) of this Court authorizing payment of certain prepetition

claims, and except as otherwise set forth in the First Interim Order, the Second Interim Order, and

this Third Interim Order or as authorized by other or further order of this Court, no checks, drafts,

wires, or ACH Transfers issued on the Debtors’ existing Bank Accounts prior to the Petition Date

but presented for payment after the Petition Date shall be honored or paid.

        8.       The Debtors are authorized, from and after the Petition Date on an interim basis, to

continue to use their Cash Management System with respect to Intercompany Transfers, in

accordance with the Debtors’ customary business practices that existed prior to the Petition Date

and except as otherwise provided in the First Interim Order, the Second Interim Order, and this

Third Interim Order.       The Banks are directed to honor Debtors’ Intercompany Transfers

instructions.

        9.       All net Intercompany Claims against a Debtor held by another Debtor arising from

postpetition Intercompany Transfers, if any, shall be entitled to administrative expense priority

pursuant to section 503(b)(1) of the Bankruptcy Code. For the avoidance of doubt, the Debtors

are authorized to continue to send funds to another Debtor to comply with section 345 of the

Bankruptcy Code or on an as-needed basis, to the extent consistent with historical practices.

Notwithstanding the foregoing, the Debtors shall not make any intercompany transfers to any non-

Debtor affiliates or subsidiaries absent further Order of the Court.


                                                  4
ACTIVE\1605211999.1
                Case 23-11160-MFW         Doc 379      Filed 11/08/23     Page 5 of 8




        10.      The Debtors shall maintain accurate and detailed records of all transfers, including

Intercompany Transfers, so that all transactions may be readily ascertained, traced, recorded

properly and distinguished between prepetition and postpetition transactions.

        11.      The Banks shall not be liable to any party or otherwise deemed in violation of the

First Interim Order, this Second Interim Order, or this Third Interim Order on account of: (a)

following the Debtors’ instructions, directions or representations as to any order of this Court, any

prepetition check or other item; (b) following the Debtors’ instructions, directions or

representations as to compliance with section 345 of the Bankruptcy Code; (c) honoring any

prepetition check or item in a good-faith belief that the Court authorized such prepetition check or

item to be honored; (d) a mistake made despite implementation of reasonable item-handling

procedures; or (e) honoring any prepetition check or item presented postpetition but prior to the

entry of this Third Interim Order.

        12.      The Banks are authorized to debit the Bank Accounts in the ordinary course of

business and without further order of this Court on account of all checks drawn on the Debtors’

accounts which were cashed at the counter of the Banks or exchanged for cashier’s or official

checks by the payees thereof prior to the Petition Date.

        13.      For the Banks at which the Debtors hold Bank Accounts that are party to a Uniform

Depository Agreement with the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”), the Debtors shall as soon as possible (a) contact each bank, (b) provide the

bank with each of the Debtors’ employee identification numbers, and (c) identify each of their

bank accounts held at such banks as being held by a debtor in possession in a bankruptcy case, and

provide the case number.




                                                  5
ACTIVE\1605211999.1
                Case 23-11160-MFW        Doc 379        Filed 11/08/23   Page 6 of 8




        14.      For Banks at which the Debtors hold Bank Accounts that are not party to a Uniform

Depository Agreement with the U.S. Trustee, (a) such Banks are directed to honor Debtors'

instructions, directions and representations to transfer deposits to another Bank that is party to a

Uniform Depository Agreement with the U.S. Trustee and (b) the Debtors are granted an additional

temporary waiver of section 345 of the Bankruptcy Code and the Operating Guidelines, through

December 6, 2023, subject to the Debtors’ right to seek entry of an order further extending such

waiver or granting a waiver on a final basis. For the avoidance of doubt, nothing herein shall

prejudice the U.S. Trustee’s rights to object to or oppose any requested extension or a full waiver

of such requirements in a final order of this Court.

        15.      The Debtors are authorized to open any new bank accounts or close any existing

Bank Accounts as they may deem necessary and appropriate in their sole discretion; provided,

however, that the Debtors give notice within five (5) business days to the U.S. Trustee and the

Official Committee of Unsecured Creditors (the “Committee”) appointed in these chapter 11 cases;

provided, further, however, that the Debtors shall open any such new bank account at banks that

have executed a Uniform Depository Agreement with the U.S. Trustee, or at such banks that are

willing to immediately execute such an agreement.

        16.      The Debtors are authorized to continue to use their existing checks and other

Business Forms, without alteration or change and without the designation “Debtor in Possession”

or the lead case number imprinted upon them. However, if new checks and business forms are

ordered, such checks and business forms shall be required to include the legend “Debtor in

Possession” and the lead case number. To the extent applicable, third-party payroll and benefits

administrators and providers are also authorized to prepare and issue checks on behalf of the

Debtors, subject to the provisions of this paragraph.


                                                 6
ACTIVE\1605211999.1
                Case 23-11160-MFW          Doc 379      Filed 11/08/23     Page 7 of 8




        17.      The Debtors shall maintain accurate and detailed records of all transfers, so that all

transactions may be readily ascertained, traced, recorded properly, and distinguished between

prepetition and postpetition transactions.

        18.      Notwithstanding the Debtors use of a consolidated cash management system, the

Debtors shall calculate quarterly fees under 28 U.S.C. § 1930(a)(6) based on the actual

disbursements by each Debtor.

        19.      The Debtors are hereby authorized to execute any additional documents and

cooperate with the Banks as may reasonably be required to carry out the intent and purpose of the

First Interim Order, the Second Interim Order and this Third Interim Order.

        20.      The final hearing (the “Final Hearing”) on the Motion shall be held on December

6, 2023, or such other date that is convenient to the Court. Any objections or responses to entry

of a final order on the Motion (each, an “Objection”) shall be filed on or before 4:00 p.m.

(prevailing EDT) on November 29, 2023, and served on the following parties: (a) proposed counsel

for the Debtors, DLA Piper LLP (US), 1201 N. Market Street, Suite 2100, Wilmington, Delaware

19801-1147 (Attn.: R. Craig Martin at craig.martin@us.dlapiper.com; and Matthew S. Sarna at

matthew.sarna@us.dlapiper.com); (b) the Office of the United States Trustee, J. Caleb Boggs

Federal Building, 844 King St., Lockbox 35, Wilmington, Delaware 19801 (Attn.: Timothy J. Fox

Jr. at timothy.fox@usdoj.gov); (c) the Banks; and (d) counsel to the Committee, Greenberg

Traurig, LLP, 222 Delaware Avenue, Suite 1600, Wilmington, Delaware 19801 (Attn.: Anthony

W. Clark at anthony.clark@gtlaw.com; and Dennis A. Meloro at melorod@gtlaw.com) and 3333

Piedmont Road NE, Suite 2500, Atlanta, GA 30305 (Attn.: David B. Kurzweil at

kurzweild@gtlaw.com). In the event no Objections to entry of the Final Order on the Motion are

timely received, this Court may enter such Final Order without a Final Hearing.


                                                   7
ACTIVE\1605211999.1
                Case 23-11160-MFW         Doc 379      Filed 11/08/23   Page 8 of 8




         21.     The requirements of Bankruptcy Rule 6003(b) are satisfied.

         22.     The requirements of Bankruptcy Rule 6004(a) are waived.

         23.     Notwithstanding the possible applicability of Bankruptcy Rule 6004(h), the terms

and provisions of this Third Interim Order shall be effective immediately and enforceable upon its

entry.

         24.     The Debtors are hereby authorized to take all actions they deem necessary to

effectuate the relief granted in this Third Interim Order.

         25.     This Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation or interpretation of this Third Interim Order.




Dated: November 8th, 2023                             MARY F. WALRATH
Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE
                                                  8
ACTIVE\1605211999.1
